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 1    CHARLES CARREON (CSB #127139)
      3241 E. Blacklidge
 2    Tucson, Arizona 85716
      Tel: 628-227-4059
 3    Email: chas@charlescarreon.com
 4    Attorney for Plaintiff Stephenie Sapp
 5
                                    UNITED STATES DISTRICT COURT
 6
                                CENTRAL DISTRICT OF CALIFORNIA
 7
      STEPHENIE SAPP                                      ) Case No.: 8:19−cv−00032−JVS−DFM
 8                                                        )
                       Plaintiff,                         ) SUPPLEMENTAL DECLARATION
 9                                                        ) OF CHARLES CARREON IN
              vs.                                         )
10                                                        ) SUPPORT OF EX PARTE
      HECTOR ROMERO-MORAN,                                ) APPLICATION TO EXTEND CASE
11                                                        )
                       Defendant.                         ) MANAGEMENT DEADLINES
12                                                        )
                                                          )
13                                                           STATUS CONF: Monday, April 15,
                                                               2019 at 10:00 AM
14

15
                               DECLARATION OF CHARLES CARREON
16
      Charles Carreon declares and affirms:
17
              I am an attorney licensed to practice before all courts in the State of California and
18
      a member of the bar of this Court. I state the matters herein of personal knowledge. If
19
      called as a witness, I could and would so competently testify.
20
                    1. I am the attorney for plaintiff Stephenie Sapp, and submit this declaration is
21
                       in support of the previously-filed Ex Parte Application to Extend Case
22
                       Management Deadlines (the “Ex Parte Application,” Docket # 10), to
23

24
                       update the Court regarding the status of my efforts to serve defendant and

25
                       get counsel appointed by California Insurance Guarantee Association

26                     (“CIGA”).

27                  2. As noted in my declaration in support of the Ex Parte Application,
28                     defendant Hector Romero-Moran (“Defendant”) was insured by Access

      ______________________________________________                            _______________________________
                        Page 1 of 4 of SUPPLEMENTAL DECLARATION OF CHARLES CARREON IN SUPPORT OF
                               EX PARTE APPLICATION TO EXTEND CASE MANAGEMENT DEADLINES
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 1                    Insurance, a failed Texas insurance carrier that is in liquidation, and whose
 2
                      responsibilities of defense and indemnity have been assumed by CIGA.
 3
                  3. As further noted in my declaration, a person at the address on Defendant’s
 4
                      California DMV application (“Defendant’s legal address”) told the process
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                      server I sent to serve him that he no longer lived at Defendant’s legal
 6
                      address. Because I believed that Defendant was perhaps declining to
 7
                      identify himself to evade service of process, I advised the Court that I
 8
                      would seek to obtain Defendant’s photograph from the DMV.
 9
                  4. I did send an official Information Request to the DMV, and received an
10
                      official copy of the Driver’s License Application, that shows Defendant’s
11

12
                      legal address on it; however, I did not receive a photograph, and upon

13
                      further inquiry, was informed by an attorney in the Legal Affairs that

14                    license photographs are not disclosed to attorneys in civil actions without a

15                    Court Order.
16                5. Accordingly, I reviewed the law of substituted service, and determined that
17                    under California Code of Civil Procedure § 415.20, the substituted service
18                    statute, Defendant could be effectively served at Defendant’s legal address,
19                    because C.C.P. § 1808.21 (c) provides that “Any person providing the
20                    department with a mailing address shall declare, under penalty of perjury,
21
                      that the mailing address is a valid, existing, and accurate mailing address
22
                      and shall consent to receive service of process pursuant to subdivision (b)
23
                      of Section 415.20….” Defendant’s legal address was also recorded on the
24
                      police report recording the defendant’s involvement in the accident as being
25
                      on his driver’s license he provided to the Sheriff who investigated the
26
                      accident and filed the report.
27
                  6. I therefore directed the process server to continue his efforts to serve the
28
                      Defendant at Defendant’s legal address, and if he was unable to deliver the
      ______________________________________________                          _______________________________
                      Page 2 of 4 of SUPPLEMENTAL DECLARATION OF CHARLES CARREON IN SUPPORT OF
                             EX PARTE APPLICATION TO EXTEND CASE MANAGEMENT DEADLINES
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 1                    papers to a person answering to the name of Hector Romero-Moran on the
 2
                      third attempt, to make substituted service on any adult in charge of the
 3
                      residence, and to obtain that person’s name and description. The process
 4
                      server complied with my directions, and made substituted service on
 5
                      Defendant on March 18, 2019 at Defendant’s legal address by delivering
 6
                      the summons, complaint and other documents commencing the action to a
 7
                      Hispanic gentleman who declined to provide his name. This gentleman
 8
                      was described by the process server as 5 feet 7 inches tall and
 9
                      approximately 185 pounds. The Defendant’s driver’s license application
10
                      shows him to be a Hispanic male, 5 feet 7 inches tall, and 200 pounds.
11

12
                  7. I completed substituted service on Defendant by mailing the summons,

13
                      complaint and other documents commencing the action to Defendant’s

14                    legal address.

15                8. I also contacted CIGA for the second time by telephone on March 26, 2019,
16                    and advised “Bob” of the status of this action, and requested that he act
17                    with alacrity to notify the attorneys in charge of claims-handling to appoint
18                    counsel to handle Defendant’s defense. Additionally, along with the cover
19                    letter attached as Exhibit A, I mailed a full set of all of the documents
20                    commencing the action and all other documents filed in the action by
21
                      myself and the Court to the following address, that “Bob” at CIGA advised
22
                      was the appropriate address:
23
                                              Access Insurance Company in Liquidation
24                                            PO Box 620430
                                              Atlanta, GA 30362
25
                  9. I also emailed a copy of all the documents commencing the action and all
26
                      other documents filed in the action by myself and the Court to the
27
                      following email address, that “Bob” at CIGA advised was the appropriate
28
                      email address: accessclaims@cb-firm.com.
      ______________________________________________                          _______________________________
                      Page 3 of 4 of SUPPLEMENTAL DECLARATION OF CHARLES CARREON IN SUPPORT OF
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 1                10. Accordingly, I respectfully submit that I have acted with reasonable
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                      diligence in attempting to procure jurisdiction over the defendant and notify
 3
                      CIGA regarding the status of this litigation, and request that the Court grant
 4
                      the continuance requested in the Ex Parte Application (Docket # 10.)
 5
          I declare and affirm, pursuant to 28 U.S.C. § 1746(2), that the foregoing is true and
 6
          correct under the law of the United States of America, and that this declaration was
 7
          signed on March 27, 2019, at Tucson, Arizona.
 8

 9
                                                /s/Charles Carreon
10
                                          Charles Carreon, Declarant
11

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      ______________________________________________                          _______________________________
                      Page 4 of 4 of SUPPLEMENTAL DECLARATION OF CHARLES CARREON IN SUPPORT OF
                             EX PARTE APPLICATION TO EXTEND CASE MANAGEMENT DEADLINES
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                              EXHIBIT A 
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                                             March 27, 2019
Via Email: accessclaims@cb-firm.com
Access Insurance Company in Liquidation
PO Box 620430
Atlanta, GA 30362
Re:    Sapp v. Romero-Moran, USDC Central Dist. Cal. Case # 8:19−cv−00032−JVS−DFM
       ACCESS Claim #: ACI0487166
       Policy #: ACA023061001
       Your Insured: Hector Romero-Moran
       Date of Injury: 01/14/2017
       Claimant: Stephenie Sapp
Dear Sir or Madam:
Please find enclosed the following documents commencing a Federal court action now pending before
the Hon. James V. Selna in the Central District of California against Access insured Hector Romero-
Moran. Service on Mr. Romero-Moran was at the address on his California Driver’s License
Application was completed on March 20, 2019.
Please appoint defense counsel for this insured as soon as possible for this Access insured, as I will find
it necessary to move for a default judgment promptly upon the elapsing of the 21 days allowed for
Mr. Romero-Moran to file his responsive pleading, i.e., on or about April 11, 2019.

Very truly yours,




Charles Carreon

Enclosures
cc:    S. Sapp

       File




                                          3241 East Blacklidge Drive
                                            Tucson, Arizona 85716
                                              Tel: 628-227-4059
